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 1 -                                                                               The Honorable Tana Lin

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 6
                                    UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 8
       UNITED STATES OF AMERICA,                             No. 2:23-cr-00084-TL
 9
                           Plaintiff,                        MOTION TO CONTINUE TRIAL
10
       v.                                                    NOTE ON MOTION CALENDAR:
11                                                           July 31, 2024
       NEVIN SHETTY,
12
                           Defendant.
13

14             Defendant Nevin Shetty, by and through undersigned counsel, respectfully moves this
15     Court for an Order continuing the trial date from September 23, 2024, to March 31, 2025, which
16     undersigned counsel has been informed is the earliest date the Court is available to conduct the
17     trial. Mr. Shetty has filed a waiver excluding the period from the date of the Court’s order through
18     May 15, 2025, for the purpose of computing the time limitations imposed by the Speedy Trial Act,
19     18 U.S.C. §§ 3161-74.
20             In support of the motion to continue the trial date, Mr. Shetty states the following:
21             1.      On January 24, 2024, Mr. Coopersmith, Mr. Little, and Mr. Lawson made their
22     appearances in this matter, replacing Mr. Shetty’s previous counsel. (Dkts. 25-27.)
23             2.      Before this date, Mr. Shetty’s prior counsel had filed no substantive motions and
24     had done very little to prepare for trial.
25


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 1          3.      On February 2, 2024, the Court issued its second case management order and set

 2   trial for September 23, 2024. (Dkt. 39.) The order set Mr. Shetty’s exhibit and witness list

 3   disclosure deadline as August 2, 2024. (Id.)

 4          4.      Since undersigned counsel entered their appearances, Mr. Shetty has filed two

 5   substantive motions—a motion to suppress and a motion to dismiss, provided more than 100 pages

 6   of expert disclosures, and responded to the government’s motion to exclude expert testimony. In

 7   addition, Mr. Shetty and his counsel have reviewed discovery consisting of nearly 400,000 pages

 8   from 64,000 documents, issued three third-party subpoenas with dozens of specific document

 9   requests, and will soon be filing a motion to compel a bench trial.

10          5.      Mr. Shetty’s request for a continuance of the trial date is necessary and in the

11   interests of justice for the following reasons, as further detailed below:

12                  a.      First, two of the three third-party subpoenas that Mr. Shetty issued to

13   witnesses, including the alleged victim corporation, remain outstanding. Although counsel has

14   diligently pursued the necessary documents for months, the subpoenaed parties have not yet

15   completed production. Mr. Shetty needs the documents to prepare for, and present, his defense at

16   trial. Although defense counsel has worked diligently with the subpoenaed parties to expedite their

17   production of responsive documents and avoid the need for motions to quash or compel, the bulk

18   of the production is not expected for weeks, and even then counsel will require significant time to

19   review them in order to utilize them effectively at trial.

20                  b.      Second, Mr. Shetty made an oral Brady demand three months ago for

21   exculpatory evidence from the criminal and civil cases brought by the government against Do

22   Kwon, co-founder of TerraUSD and Luna, the cryptocurrencies at issue in Mr. Shetty’s case. But

23   the government has not provided any documents in discovery related to Mr. Kown and recently

24   indicated that it intends to move in limine to exclude testimony of TerraUSD’s representations
25   about its “stablecoin” and Mr. Kwon’s responsibility for the crash of TerraLuna. (Dkt. 58 at 9-10.)


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 1   The evidence from Mr. Kwon’s case is exculpatory in this case, as the government is asserting that

 2   Hightower’s cryptocurrency investment was akin to playing the roulette wheel. Mr. Shetty has

 3   now memorialized his April 22 oral request with a written Brady demand. Once the government

 4   complies with its Brady obligations, Mr. Shetty will need time to review any material the

 5   government produces; if the government continues to refuse to do so, the defense will need to

 6   litigate that issue to ensure it is provided with all exculpatory information.

 7          6.      These issues are further detailed below:

 8                               Outstanding Trial Subpoena Productions

 9          7.      On April 29, 2024, Mr. Shetty submitted document subpoenas to the Court and

10   requested that they be returned before trial, so that he could utilize them in the preparation of his

11   defense. (Dkt. 40.) The government did not take a position on the motion but stated that it “expects

12   that Fabric will challenge the subpoenas once they are issued.” (Dkt. 42 at 2.)

13          8.      On May 20, 2024, this Court granted the Defendant’s motion and ordered the

14   production of documents responsive to the three trial subpoenas by June 7, 2024. (Dkt. 47.)

15          9.      Mr. Shetty has received a complete response to the trial subpoena issued to

16   Formidium Corporation. But he has received only a partial production in response to the trial

17   subpoena issued to Commerce Fabric, Inc. (“Fabric”), and only two pages from Umer Sadiq.

18          10.     Shortly after the subpoenas were issued, defense counsel began discussions with

19   counsel for Fabric about the manner, means, and scope of production. The goal of these discussions

20   was to ensure that Mr. Shetty could receive the documents he needed while avoiding any

21   unnecessary litigation by Fabric or the defense team to either quash the subpoena or compel

22   production. These discussions took place over phone calls and email correspondence and resulted

23   in Mr. Shetty narrowing many of his original requests. As a result, contrary to the government’s

24   expectation, neither the Defendant nor Fabric has had to litigate any issues related to the subpoenas.
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 1          11.     Approximately three weeks after the subpoenas were issued, on June 14, 2024,

 2   Fabric made its initial production, which contained 137 documents totaling 673 pages.

 3   Mr. Shetty’s defense team worked diligently and has completed review of this initial production.

 4   But these documents were responsive to only a handful of the requests made in the subpoena; the

 5   rest remained outstanding and Fabric has promised to produce them in a rolling manner.

 6          12.     One aspect of the remaining production that had remained unresolved was the

 7   request for Fabric corporate emails to and from the Defendant in the months before and after the

 8   HighTower investment. In conversations with defense counsel, Fabric’s counsel asserted their

 9   belief that Mr. Shetty must have had access to at least some of those emails from the laptop hard

10   drive that Fabric provided to the government. This assertion led defense counsel to investigate

11   whether it had missed such emails in the voluminous discovery production provided by the

12   government. After further searches, and consultation with a forensic computer expert, defense

13   counsel confirmed that only selected emails were provided to the government by Fabric; these

14   limited emails were produced in discovery. In other words, neither Mr. Shetty nor the government

15   had possession of the bulk of the Defendant’s emails, and Fabric is the only party that possesses

16   them. These emails are highly relevant to multiple aspects of Mr. Shetty’s defense.

17          13.     On July 16, 2024, in response to undersigned counsel’s follow-up request, Fabric

18   indicated that it intended to make a second production the week of July 22, 2024. Furthermore,

19   Fabric stated that it had identified over 13,000 emails responsive to Mr. Shetty’s subpoena, which

20   requested “[a]ll documents or communications sent to and from, or created by, Nevin Shetty

21   between March 17, 2022 and May 13, 2022.” Fabric also identified an unnumbered amount of

22   responsive Slack messages.

23          14.     That same day, Fabric’s counsel stated that it believed its privilege review for the

24   13,000+ responsive emails and Slack messages was too burdensome and proposed providing Mr.
25   Shetty with to/from/subject information (excluding content) in a spreadsheet for him to use to then


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 1   identify specific messages for Fabric’s privilege review and subsequent production. In good faith,

 2   undersigned counsel agreed to Fabric’s proposal to expedite it and avoid unnecessary litigation.

 3   But, with this protocol in place, it will likely take at least several weeks before Mr. Shetty receives

 4   the responsive emails from Fabric from this pool of 13,000 emails.

 5           15.    Undersigned counsel confirmed that Mr. Shetty’s Fabric work email is not

 6   contained on any computer in Mr. Shetty’s or the government’s possession. Therefore, obtaining

 7   the emails directly from Fabric is the only method to obtain them. These emails are crucial to his

 8   case-in-chief because they document Mr. Shetty’s actions and conduct as CFO during the key time

 9   period and may include discussions within Fabric about the transfer of funds for the Hightower

10   investment.

11           16.    On July 16, 2024, Umer Sadiq, Fabric’s Chief Technology Officer, made his initial

12   production of two pages in response to the trial subpoena issued to him. Mr. Sadiq’s counsel is

13   now working with a forensic vendor to produce responsive text messages, but that process requires

14   additional time.

15           17.    Thus, based on all this, it is likely that Mr. Shetty will receive significant document

16   productions in response to its two outstanding trial subpoenas well after his August 2, 2024, exhibit

17   and witness list disclosure deadline. And Mr. Shetty’s defense team will not be able to complete

18   its review of the productions, ask potential trial witnesses about the documents, and fully prepare

19   his case-in-chief before trial is scheduled to begin on September 23, 2024.

20           18.    These facts alone establish good cause for the requested continuance. But there is

21   more.

22                                              Brady Demand

23           19.    Do Kwon was the co-founder and CEO of Terraform Labs, the parent company of

24   TerraUSD (UST), the cryptocurrency at issue in this case.
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 1          20.     In June 2022, less than a month after the UST market crash, the U.S. Securities and

 2   Exchange Commission (“SEC”) began investigating Do Kwon and Terraform Labs for securities

 3   marketing violations that led to the crash of UST. The SEC charged Do Kwon and Terraform Labs

 4   in February 2023 with securities fraud related to the crash of UST, which is the cryptocurrency

 5   platform on which the HighTower investment was made. In June 2024, Do Kwon and Terraform

 6   Labs settled with the SEC and agreed to pay $4.5 billion in civil penalties and agreed to a lifetime

 7   ban from buying and selling cryptocurrency securities.

 8          21.     In March 2023, about two months before Mr. Shetty was indicted, the U.S.

 9   Attorney’s Office for the Southern District of New York indicted Do Kwon for wire fraud,

10   conspiracy to defraud the United States, commodities fraud, securities fraud, and conspiracy to

11   defraud and engage in market manipulation. The case remains pending as Mr. Kwon has not yet

12   been extradited to the United States.

13          22.     In the indictment, the government alleged that “KWON engaged in a scheme to

14   defraud individuals selling digital commodities for cryptocurrencies issued by TFL, including

15   LUNA and UST, by using market manipulation and false statements to deceive those individuals

16   about the effectiveness and sustainability of the algorithmic mechanism that purportedly ensured

17   the stability of UST’s price.” Indictment at 4, United States v. Do Kwon (S.D.N.Y.) (No. 1:23-CR-

18   00151).

19          23.     One overt act alleged in the indictment was that “KWON . . . [conspired to] alter[]

20   the market price of UST.” Id. at 9. The indictment also alleged that he “made a false and misleading

21   statement concerning the effectiveness and sustainability of the algorithmic mechanism that

22   purportedly ensured the stability of UST’s price.” Id.

23          24.     In a press release following the civil lawsuit settlement, the government stated,

24   “[t]hrough these deceptions, [Do Kwon and Terraform Labs] caused devastating losses for
25   investors and wiped out tens of billions of market value nearly overnight.” Statement on Jury’s


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 1   Verdict in Trial of Terraform Labs PTE Ltd. and Do Kwon, U.S. Securities and

 2   Exchange Commission, April 5, 2024, available at https://www.sec.gov/newsroom/speeches-

 3   statements/grewal-statement-040424 (last accessed July 18, 2024).

 4           25.     These allegations bolster Mr. Shetty’s defense in two ways: First, these public

 5   statements and pleadings confirms that the government knows, and believes, that Mr. Kwon

 6   defrauded people like Mr. Shetty into believing that UST’s price would be stable due to the

 7   algorithms supporting it. Mr. Shetty’s reasonable belief about the stability of UST directly rebuts

 8   the government’s claim that he was acting like a gambler with Fabric’s funds. Second, the

 9   government’s statements indicate that it is Mr. Kwon, not Mr. Shetty, who is responsible for the

10   losses that Fabric suffered due to the UST collapse.

11           26.     Nonetheless, notwithstanding the relevance of these facts, the government has not

12   provided any materials from the Do Kwon cases to defense counsel.

13           27.     On or about April 22, 2024, undersigned counsel made an oral demand for Brady

14   evidence related Mr. Kwon’s criminal and civil cases. In response, AUSA Kopczynski stated that

15   he believed it highly unlikely that the Department of Justice would provide such information. And,

16   in the intervening months, the government has not provided Mr. Shetty with any evidence from

17   these cases, notwithstanding their exculpatory nature—both as to the claims that Mr. Kwon made

18   to investors and the public about the stability of the Terra currency and the security of investing in

19   it, and the blame that Mr. Kwon bears for ultimately causing the cryptocurrency to collapse.

20           28.     Later, on June 25, 2024, the government objected to the proposed testimony about

21   the market crash of UST that Mr. Shetty intends to elicit from his cryptocurrency experts. (Dkt. 58

22   at 9-10.) In its motion, the government stated that it intended to move in limine to exclude such

23   testimony at trial. Id. The government conceded that, “[p]art of the story, to be sure, is the fact that

24   [Fabric]’s money was lost in the UST crash” but argued that “the reasons for that crash are not
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 1   relevant.” (Id. at 10.) The reasons for that crash, however, are detailed in the DOJ’s indictment of

 2   Mr. Kwon, which places the blame for the loss squarely on him—and not Mr. Shetty.

 3          29.     On July 18, 2024, counsel for Mr. Shetty sent the government a written Brady

 4   demand reiterating the April 2024 request to AUSA Kopczynski and stating reasons he believed

 5   evidence from Mr. Kwon’s criminal and civil cases are potentially exculpatory to Mr. Shetty. Mr.

 6   Shetty will need time to review any Brady material the government produces and potentially

 7   litigate any further refusal by the government to provide such information.

 8                                               Conclusion

 9          30.     Last week, Mr. Shetty waived his right to a jury trial. On July 17, 2024, the

10   government objected to the bench trial. It did not state any reasons. In the coming days, Mr. Shetty

11   intends to file a motion to compel a bench trial.

12          31.     Although Mr. Shetty’s counsel has filed multiple substantive motions and

13   responses and reviewed a substantial amount of discovery, there is still much to do to prepare for

14   trial. Mr. Shetty’s counsel needs time to collect the outstanding subpoenaed documents from third

15   parties and the Do Kwon materials. Once received, his counsel will have to review them, analyze

16   them, and make appropriate disclosures. Mr. Shetty’s counsel cannot adequately prepare his

17   defense until these steps are complete. And even once they are, based on representations made by

18   the government, it is likely the government will challenge the admissibility of such documents.

19   This will take time.

20          32.     Mr. Shetty’s motion to continue is not made for delay but to effectively represent

21   Mr. Shetty at trial. Since making their appearance in this case in January 2024, undersigned counsel

22   have worked diligently to review the 400,000 pages of discovery produced by the government.

23   Undersigned counsel has filed 149 pages of briefing and provided notice to the government of

24   their intent to call six expert witnesses at trial, providing more than 100 pages of disclosures in
25   support. As mentioned above, Mr. Shetty has in good faith significantly limited his document


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 1   requests to expedite responsive productions to his trial subpoenas. Mr. Shetty intends to proceed

 2   to trial as soon as his counsel have received documents relevant to his case-in-chief and are

 3   adequately prepared to represent him at trial.

 4          33.     Pursuant to this Court’s Standing Order, Defendant’s Speedy Trial Waiver is

 5   attached hereto as Exhibit A, and Mr. Shetty explicitly waives his right to a speedy trial through

 6   May 15, 2025. Mr. Shetty acknowledges that by signing the speedy trial waiver, he is waiving his

 7   rights under the Sixth Amendment and the Speedy Trial Act and agreeing that the period from the

 8   date of the Court’s order continuing his trial until May 15, 2025, shall be an excludable period of

 9   time, pursuant to 18 U.S.C. § 3161(h)(7)(A). Mr. Shetty explicitly waives his right to a speedy

10   trial through May 15, 2025.

11          34.     Undersigned counsel has conferred with counsel for the government who are

12   opposed to this motion.

13          35.     Defendant Nevin Shetty respectfully requests that this Court continue his trial date

14   until March 31, 2025.

15          DATED this 19th day of July, 2024. I certify that this motion contains 2,649 words, in

16   compliance with the Local Criminal Rules.

17                                                    Respectfully Submitted,

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